Case 3:19-bk-30822       Doc 5    Filed 04/24/19 Entered 04/24/19 10:41:56            Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: April 24, 2019



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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

In re:                                               )      Case No. 3:19-bk-30822
                                                     )
TAGNETICS, INC.                                      )      Chapter 7 (Involuntary)
                                                     )
                Alleged Debtor.                      )      JUDGE GUY R. HUMPHREY
                                                     )

             ORDER GRANTING ALLEGED DEBTOR, TAGNETICS, INC.’S
                  MOTION FOR ENLARGEMENT OF TIME TO FILE
                 A RESPONSIVE PLEADING OR OTHERWISE MOVE
            OR PLEAD WITH RESPECT TO THE INVOLUNTARY PETITION

         This matter came before the Court on the Alleged Debtor, Tagnetics, Inc.’s Motion for

Enlargement of Time to file a Responsive Pleading or Otherwise Move or Plead with respect to

the Involuntary Petition (the “Motion”).

         For good cause shown, it is ORDERED that the Motion is GRANTED. Alleged Debtor,

Tagnetics, Inc. is given an extension of time, to and including, May 14, 2019, within which to

move or otherwise file a responsive pleading with respect to the Involuntary Petition.

         IT IS SO ORDERED.

SERVICE LIST: All Creditors and Parties in Interest
